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 8                              UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

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11                                            Case No. 4:19-cv-03161-YGR
     IMPINJ, INC., a Delaware corporation,
12                       Plaintiff,           [JOINT PROPOSED] LIMITING
13                                            INSTRUCTION
           v.
14                                            Judge: Honorable Yvonne Gonzalez Rogers
     NXP USA, INC., a Delaware corporation,
15                                            Trial Date: March 18, 2024
                         Defendant.
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                                                                            [JOINT PROPOSED]
                                                                     LIMITING INSTRUCTION
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 1          Pursuant to the Court’s Pretrial Order No. 2A Re: Damages and Motions In Limine For

 2   Second Trial (Dkt. 509), Plaintiff Impinj, Inc. (“Impinj”) and Defendant NXP USA, Inc. (“NXP”)

 3   hereby submit the following proposals for a limiting instruction as to the Court’s finding of in-

 4   fringement. Consistent with the Court’s Standing Order, where the parties agree on language in a

 5   particular proposed instruction, the language appears in black text. Where Impinj proposes par-

 6   ticular language to which NXP objects, Impinj’s proposal appears in red text. Where NXP pro-

 7   poses particular language to which Impinj objects, NXP’s proposal appears in green text.

 8          The sole issue you are being asked to decide in this trial is whether NXP has proven, by

 9   clear and convincing evidence, that the ’302 patent is invalid as obvious. You are not being asked

10   to decide whether NXP infringes the ’302 patent. I have already decided that certain NXP prod-

11   ucts infringe the asserted claims at issue of the ’302 patent.

12          During the course of the trial, you heard testimony that NXP sells products that [practice]

13   [embody] the invention claimed in the ’302 patent as construed by the court. I have decided that

14   certain NXP products at issue embody the invention claimed in the ‘302 patent. You are only to

15   consider this testimony with respect to what I have referred to as secondary considerations of

16   non-obviousness.

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                                                                                       [JOINT PROPOSED]
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 1   Dated: February 1, 2024

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                                                                                  [JOINT PROPOSED]
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11                                                  Attorneys for Defendant NXP USA, INC.

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            Pursuant to Local Rule 5-1, the below filer attests that concurrence in the filing of this
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     document has been obtained from the above Signatories.
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                                                      /s/ Lisa L. Furby
17                                                    Lisa L. Furby
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                                                                                        [JOINT PROPOSED]
                                                     -3-                         LIMITING INSTRUCTION
                                                                               Case No. 4:19-CV-03161-YGR
